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L:I)N\ Case 1:03-cv-01097-.]DT-STA Document 127 Filed 05/23/05 Page 1 of 3 Page|D 164

 

IN THE UNITED STATES DISTRICT COURT ’?@
FOR THE WESTERN DISTRICT OF TENNESSEE 004 a ’
EASTERN DIVISION 4‘*"/» 7
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DAN E. LONG, ) ‘/<`,;I/./L,»Q;/;> 02
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thu& ) ¢'Q»
) /"
v. ) No. 03-1097-T-An
)
THE PROCTER AND GAMBLE )
MANUFACTURING COMPANY, )
a corporation, (
)
Defendant. )
ORDER OF REFERENCE

 

Defendant’s renewed motion to Strike the affidavits of Willie Camey, Reginald
Charles, and Tony Lusby [Docket # 122] is hereby REFERRED to Magistrate S. Thornas
Anderson for a determination

IT IS SO ORDERED.

    

A~M

D. TODD
D STATES DISTRICT IUDGE

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DATE J

 

 

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Adam F. Glankler
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/lemphis7 TN 38103

Stephen D. Wakefield

WYATT TARRANT & COl\/[BS
P.O. Box 775000

1\/lemphis7 TN 38177--500

Cynthia G. Burnside
ASHE & RAFUSE7 LLP
1355 Peachtree St., NE
Ste. 500

Atlanta, GA 30309--323

R. LaWrence Ashe
ASHE & RAFUSE7 LLP
1355 Peachtree St., NE
Ste. 500

Atlanta, GA 30309--323

Larry Montgomery
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/lemphis7 TN 38103

Venita Marie Martin
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/lemphis7 TN 38103

Dan E. Long
188 Skyridge Dr.
Jackson7 TN 38305

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Honorable J ames Todd
US DISTRICT COURT

